Case 1:18-cv-01599-MN Document 48-1 Filed 09/25/19 Page 1 of 3 PageID #: 1994




                     Exhibit A
Case 1:18-cv-01599-MN Document 48-1 Filed 09/25/19 Page 2 of 3 PageID #: 1995




                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

 BEST MEDICAL INTERNATIONAL,                        )
 INC.,                                              )
                                                    )
                  Plaintiff,                        )
                                                    )
    v.                                              ) C.A. No. 18-1599-MN
                                                    )
 VARIAN MEDICAL SYSTEMS, INC.,                      )
 AND VARIAN MEDICAL SYSTEMS                         )
 INTERNATIONAL AG,                                  )
                                                    )
                  Defendants.                       )


                           SUPPLEMENTAL SCHEDULING ORDER

         At Wilmington this ____ day of ____________, 2019.

         WHEREAS, the Court has considered the parties’ letter submissions setting out their

proposals for case narrowing;

         NOW, THEREFORE, IT IS HEREBY ORDERED that the case schedule shall be

amended, and the case shall be narrowed, as set out in the chart below:

     Date              Case Event or Deadline          Reduction of Asserted Claims/Prior Art

 10/4/2019       N/A                                  25 asserted claims

 10/18/2019      Initial Invalidity Contentions       N/A

 11/15/2019      Preliminary Election of Asserted     16 asserted claims
                 Claims

 12/6/2019       Preliminary Election of Asserted     35 prior art references and/or systems
                 Prior Art

 8/19/2020       Final Election of Asserted Claims    10 asserted claims
                 (same date as Final Infringement
                 Contentions)
Case 1:18-cv-01599-MN Document 48-1 Filed 09/25/19 Page 3 of 3 PageID #: 1996




       Date           Case Event or Deadline           Reduction of Asserted Claims/Prior Art

    9/16/2020    Final Election of Asserted Prior      20 prior art references and/or systems1
                 Art (same date as Final Invalidity
                 Contentions)

         The instant schedule sets a multi-stage “ceiling” on the number of claims/total

references/prior art arguments that can possibly be asserted in the case. The Court, however,

recognizes that even after the final cut-down set forth above, the case will still have to be further

narrowed prior to trial. The Court expects the parties to try to accomplish that additional

narrowing on their own, without Court intervention.

         The parties may seek to modify the limits in the above-referenced schedule in the future

upon a showing of good cause.




                               SO ORDERED this _____ day of_____________, 2019.


                                               ______________________________
                                               United States District Judge




1
 For purposes of this Final Election of Asserted Prior Art, each obviousness combination counts
as a separate prior art reference.



                                                  2
